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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 TEXARKANA DIVISION

  Health Choice Group, LLC and Jaime Green,
  on behalf of The United States of America, et
  al,                                             Civil Action No. 5:17-cv-126-RWS-CMC

                        Plaintiffs/Relators,

  v.

  Bayer Corporation, et al,

                        Defendants.

         DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED
                              COMPLAINT
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                                  STATEMENT OF THE ISSUES

  1. Whether Relators have failed to state a claim on which relief may be granted under the False

     Claims Act (“FCA”) and similar state laws due to their failure to plead the requisite elements

     of falsity, scienter, and causation.

  2. Whether Relators have failed to meet the heightened pleading requirements of Rule 9(b) for

     all counts.

  3. Whether a substantial portion of Relators’ claims are barred by statutes of limitations.

  4. Whether the First Amended Complaint (“FAC”) improperly attempts to add a new Relator.

                                   STATEMENT OF THE CASE

         Defendants     Bayer     Corporation    (“Bayer),   Amgen,      Inc.   (“Amgen”),      Onyx

  Pharmaceuticals, Inc. (“Onyx”), AmerisourceBergen Corporation (“Amerisource”), and Lash

  Group (“Lash”) (collectively “Defendants”) respectfully move to dismiss Relators’ FAC.

         Relators assert claims under the FCA and similar state laws. Only the private party qui

  tam relators are pursuing this case; the federal and state governments (collectively, the

  “Government”) declined to intervene.          Relators allege that each Defendant caused the

  submission of false claims for reimbursement of prescription drugs to government healthcare

  programs. Those claims were false, Relators allege, because product support and education

  programs that Defendants operated for those drugs—nurse educator and insurance

  reimbursement assistance programs—violated the Anti-Kickback Statute (“AKS”) and similar

  state laws. The FAC should be dismissed under Rule 12(b)(6).

         First, the FAC fails to establish any “false” claim because it fails to allege facts to

  plausibly show that Defendants violated the AKS. Two of Relators’ theories (nurse educator

  programs and reimbursement support services) do not state a kickback violation because they

  explicitly allege that only product-specific support was provided for the three medicines at issue.
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   Guidance materials from the Office of the Inspector General (“OIG”) of the U.S. Department of

   Health and Human Services have made clear that such product-specific support services that do

   not provide substantial independent value to doctors are not illegal remuneration under the AKS.

          Relators’ other theory (i.e., broad, conclusory allegations of “white coat marketing”

   through nurse educators) also fails to state an AKS violation. The specific facts alleged show

   that the AKS is not implicated because those nurses merely educated doctors and patients about

   the medicines, rather than “recommending” the medicines because of any alleged remuneration.

   Moreover, this theory also fails because it relies on a faulty legal premise that all promotional

   activities by non-employee health care providers necessarily violate the AKS.

          Second, even if Relators had alleged Defendants violated the AKS and thereby created

   “false” claims, the FAC falls well short of alleging that the Defendants knowingly did so. Well

   established Fifth Circuit case law requires that a defendant actually knew that the claim was false

   before FCA liability can attach. The FAC fails to allege plausible facts that Defendants knew

   their actions violated the AKS and thereby created false claims. Indeed, in light of the OIG

   guidance documents and other regulations permitting the conduct Relators allege (including

   product-specific support services and education through nurse educators), Relators cannot as a

   matter of law demonstrate that Defendants knew their actions would create false claims because

   those actions were objectively reasonable.

          Third, Relators have not alleged facts to show Defendants’ actions caused the submission

   of a false claim to a government healthcare program. At most, Relators claim the alleged acts

   occurred over a period of several years and speculate that the acts must have caused the

   submission of a claim to a government healthcare program during that time. Such conjecture is

   inadequate.



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          Furthermore, Relators fail to plead their claims of fraud with particularity as required by

   Fed. R. Civ. P. 9(b). The heightened standard of Rule 9(b) requires the “who, what, when,

   where, and how” of the alleged acts. Those facts are missing from the FAC. For example,

   despite the FAC’s acknowledgement that Amgen and Onyx were involved only in one of the

   medicines at issue—Nexavar—the FAC repeatedly makes undifferentiated allegations about all

   Defendants with respect to all three medicines at issue. The FAC similarly fails to explain which

   Defendant undertook what alleged act, when those acts occurred and with whom, and—of

   particular importance—how those alleged acts caused a false claim that was submitted to the

   Government. In short, Relators have failed to allege with particularity that any false claims were

   submitted, or to link any such false claims to the alleged kickback schemes. Relators cannot

   proceed without such particularized allegations.

          Finally, the FAC asserts claims beyond the statute of limitations period and improperly

   attempts to add a new plaintiff relator (Jaime Green) in violation of the FCA’s first-to-file rule.

                                            BACKGROUND

          This qui tam case was filed under seal on June 19, 2017. Dkt. 1. After only four months,

   the Federal Government and all State Governments declined to intervene and the complaint was

   unsealed on October 31, 2017. Dkt. 7, United States’ Notice of Election to Decline Intervention;

   Dkt. 8, Order Unsealing Complaint. The FAC was filed on January 12, 2018. Dkt. 32. The

   original relator is Health Choice Group, LLC (“Health Choice”), “an affiliate” of a non-party

   “research organization” called National Healthcare Analysis Group. FAC ¶ 26.

          Relator Jaime Green (“Green”) was added in the FAC. Green is a nurse formerly

   employed by non-party Ashfield Healthcare LLC (“Ashfield”) as a nurse educator regarding the

   Bayer drug product Adempas, a product first added to this case by the FAC. Id. at ¶ 27. Green



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   does not identify any FAC claims or allegations as being hers alone, but instead shares with

   Health Choice all of the claims and allegations in the FAC. Id. at 1.

          Defendants Bayer, Amgen, and Onyx are pharmaceutical or biopharmaceutical

   companies. Id. at ¶¶ 21-23. There are three prescription drug products at issue in the FAC. Two

   are Bayer products: Betaseron (used to treat multiple sclerosis) and Adempas (used to treat

   pulmonary hypertension). Id. at ¶ 2. The third medicine, Nexavar (used to treat cancer), has

   been co-marketed by Bayer, Amgen, and Onyx. Id. Collectively, Betaseron, Nexavar, and

   Adempas are hereinafter collectively referred to as “the Medicines.” Defendants allege that

   Amerisource and Lash, and non-party Ashfield, carried out certain         drug product support

   programs (described below) that are the focus of the FAC.

          A.      The Nature of the FAC’s Claims

          The FAC purports to assert claims for violations of the FCA and similar state laws. Id. at

   ¶¶ 205-375. In brief, the FAC alleges that Defendants caused false claims for reimbursement for

   purchases of the Medicines to be submitted to Government healthcare programs. Id. at ¶ 17.

   Those claims were false, the FAC alleges, because they were tainted by violations of the AKS.

   Id. at ¶ 85. The sole harm alleged is that the Government would not have paid to reimburse for

   some unidentified prescriptions had the Government been aware of Defendants’ allegedly

   unlawful drug product support programs. Id. at ¶¶ 15-17.

          The FAC does not allege: (1) any harm to patients; (2) any inappropriate use of the

   Medicines; (3) any unapproved uses of those Medicines; (4) that particular prescribers would not

   have prescribed those Medicines but for the Defendants’ allegedly unlawful actions; or (5) that

   Government healthcare programs did not get exactly what they paid for.




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          B.      The Drug Product Support Programs at Issue

          The FAC challenges the legality of two types of drug product support programs that one

   or more of the Defendants allegedly provided for one or more Medicines.

          First are the nurse educator programs, under which trained nurses educate patients about

   the nature and proper use of the specific drug product that was prescribed by a doctor. Id. at ¶¶

   92-107. The nurse educators provide patients with information on such matters as the relevant

   disease state and proper administration of the specific drug prescribed. Id. at ¶ 97. They also

   similarly educate doctors and their staff on these topics. Id. at ¶ 102. Each nurse educator

   program provides these services for only one of the Medicines. Id. at ¶ 95. Relators allege that

   the nurse educators are employed directly or indirectly by either Amerisource, Lash, or Ashfield,

   pursuant to those entities’ contracts with one or more of the biopharmaceutical companies Bayer,

   Amgen, and Onyx. Id. at ¶¶ 92, 107.

          Second are the insurance reimbursement assistance programs, where skilled workers

   assist in obtaining insurance coverage for purchases of one of more of the Medicines. Id. at ¶¶

   146-73. These services include assisting with patient insurance benefit verification, patient prior

   authorization, and coverage appeals. Id. at ¶¶ 148, 159-62. These reimbursement support

   services are provided by Bayer and Amgen with assistance from Lash. Id. at ¶ 91.

          C.      The FAC’s Theories of AKS Violations.

          The FAC alleges three separate theories of AKS violations. The first and third theories

   contend that the services provided by both support programs – reimbursement assistance and

   nurse educator programs – are illegal remuneration to doctors provided to induce doctors to

   prescribe or recommend the Medicines. Id. at ¶¶ 89, 91-107; 146-73. The second theory (as

   plead in the FAC) contends that the salaries paid to nurse educators are illegal remuneration to

   induce those nurses to recommend the Medicines. Id. at ¶¶ 90, 108-45.

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                  1.      The Two Theories of Remuneration to Doctors (Theories One and Three)

          The FAC alleges that the services provided by the nurse educator program (“Theory

   One” or “the 1st Theory”), and those provided by the reimbursement assistance program

   (“Theory Three” or “the 3rd Theory”), reduced the operating expenses of doctors who otherwise

   may have borne the expense of providing such services to their patients and/or the doctors’ staff.

   Id. at ¶¶ 89, 91. Relators contend that those services constituted illegal AKS “remuneration”

   unlawfully intended to induce doctors to prescribe the Medicines. Id. at ¶ 91. The FAC devotes

   several pages to discussing the law and OIG guidance that allegedly demonstrate that these

   services are unlawful remuneration to doctors in violation of the AKS. See, e.g., id. at ¶¶ 7, 107.

          The FAC does not, however, mention any of the OIG guidance specific to the types of

   product support programs at issue here.       As explained below, that omitted OIG guidance

   provides that product support programs such as these are not unlawful remuneration to the

   doctors because those services are provided solely in connection with the Medicines and do not

   provide substantial independent value to doctors. The FAC expressly states that the alleged

   product support programs are only for the Medicines. Id. at ¶¶ 95, 147.

                  2.      The Theory of Remuneration to Nurses (Theory Two)

          The FAC also purports to allege that the salaries paid to nurse educators are unlawful

   remuneration to induce those nurses to recommend the Medicines. Id. at ¶ 111. The FAC

   alleges generally that the nurse educators did not merely “educate” others about the products at

   issue, but also affirmatively “recommended” those products to patients, doctors, and their staff,

   which the FAC calls “white coat marketing.” Id. at ¶¶ 140, 145. The FAC asserts a legal

   conclusion that the AKS prohibits Defendants “from paying non-employees to ‘recommend’” the

   Medicines to others. Id. at ¶ 114.



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          However, the conclusory allegation that the nurse educators “recommended” the products

   at issue is expressly identified in the FAC itself as being merely an inference or “conclusion” that

   the FAC argues should be drawn from other specifically identified fact allegations. Id. at ¶ 116.

   None of those fact allegations, however, support a reasonable inference that the nurse educators

   recommended the Medicines. Id. at ¶¶ 117-45. Instead, they indicate that the nurse educators

   supported the Medicines by merely educating patients, doctors, and their staff about the nature

   and proper use of those products. Id.

                                             STANDARD

          Rule 12(b)(6) requires Relators to state a plausible claim for relief by making sufficient

   factual allegations such that the court may reasonably infer “that the defendant is liable for the

   misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); see also Bell Atl. Corp. v.

   Twombly, 550 U.S. 544, 570 (2007). This requirement extends to “each element” necessary to

   sustain recovery under some actionable legal theory. Pena v. City of Rio Grande City, 879 F.3d

   613, 621 (5th Cir. 2018). The purpose of this requirement is that if “the allegations in a

   complaint, however true, could not raise a claim of entitlement to relief, ‘this basic deficiency

   should . . . be exposed at the point of minimum expenditure of time and money by the parties and

   the court.’” Cuvillier v. Taylor, 503 F.3d 397, 401 (5th Cir. 2007) (quoting Twombly, 550 U.S.

   at 558).

          “Claims brought under the FCA are fraud claims that must also comply with the

   supplemental pleading requirements of Rule 9(b), demanding that ‘a party must state with

   particularity the circumstances constituting fraud or mistake.’” U.S. ex rel. Nunnally v. W.

   Calcasieu Cameron Hosp., 519 F. App’x 890, 892 (5th Cir. 2013) (quoting Fed. R. Civ. P. 9(b)).

   That requires that Relators explain “the who, what, when, where, and how” of the alleged fraud.

   Benchmark Electronics, Inc. v. J.M. Huber Corp., 343 F.3d 719, 724 (5th Cir. 2003).

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                                            ARGUMENT

   I.     Counts 1 and 2 Should Be Dismissed Pursuant to Rule 12(b)(6) Because the FAC
          Fails to Plead the Essential Elements of Falsity, Scienter, and Causation.

          Counts 1 and 2 are brought under 31 U.S.C. §§ 3729(a)(1)(A) and (a)(1)(B), respectively.

   Under Section 3729(a)(1)(A), Relators must allege that: (1) “there was a false statement or

   fraudulent course of conduct; (2) made or carried out with the requisite scienter; (3) that was

   material; and (4) that caused the government to pay out money or to forfeit moneys due (i.e., that

   involved a claim).” United States v. Bollinger Shipyards, Inc., 775 F.3d 255, 259 (5th Cir. 2014)

   (quotations and citations omitted).     Section 3729(a)(1)(B) creates liability for one who

   “knowingly makes, uses, or causes to be made or used, a false record or statement material to a

   false or fraudulent claim.” An underlying false claim is an element of both sections. U.S. ex rel.

   Rigsby v. State Farm Fire & Cas. Co., 794 F.3d 457, 476–77 (5th Cir. 2015), aff'd 137 S. Ct. 436

   (2016) (“To prove a violation of both § 3729(a)(1) and § 3729(a)(1)(B), the [relators] had to

   show that the claim presented for payment . . . was false.”). Relators do not, and cannot, satisfy

   the elements of falsity, scienter, or causation, so Counts 1 and 2 should be dismissed with

   prejudice.

          A.      Relators’ Allegations Do Not and Cannot Establish Falsity Because They Do Not
                  Plausibly Allege Any Violation of the AKS.

          An actual “false claim” is the sine qua non of FCA liability. U.S. ex rel. Foster v.

   Bristol-Meyers Squibb Co., 587 F. Supp. 2d 805, 813 (E.D. Tex. 2008). Relators seek to

   establish the falsity element based entirely on the allegation that each Defendant violated the

   AKS by offering remuneration to induce doctors to prescribe (Theories One and Three) and to

   induce nurses to recommend (Theory Two) prescription drugs for which claims for

   reimbursement were submitted to federal and state health care programs.          FAC ¶¶ 89-91.



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   Relators allege that by violating the AKS, Defendants caused all claims connected to that

   violation to become “false.” Id. at ¶¶ 16-17, 188.

          The elements of an AKS violation under 42 U.S.C. § 1320a-7b(b)(2) that Relators must

   plead are that Defendants: (1) offered or paid remuneration to others; (2) to induce them to

   purchase, order, or recommend purchasing any good or item that may be paid by a federal health

   care program, and (3) did so knowingly and willfully. See United States v. Shoemaker, 746 F.3d

   614, 627 (5th Cir. 2014). Under a plain reading of the AKS and relevant case law, Relators do

   not, and cannot, meet their burden of pleading an AKS violation and therefore have not pled

   falsity. Relators must plead their FCA claim with particularity, including each element of the

   alleged AKS violations. See United States v. Paramedics Plus LLC, No. 4:14-CV-00203, 2017

   WL 4812443, at *4 (E.D. Tex. Oct. 25, 2017) (“In such a case, the elements of the AKS

   violation must also be pleaded with particularity under Rule 9(b), because they are brought as a

   FCA claim.”).

                   1.    The Alleged Nurse Education Programs (Theory One) and Reimbursement
                         Support Services (Theory Three) Do Not Provide Unlawful Remuneration
                         To Doctors in Violation of the AKS.

          Relators’ central premise that nurse education and reimbursement support services

   described in Theories One and Three provide illegal remuneration under the AKS is incorrect as

   a matter of law because each of the services described are limited to the support of one of the

   Medicines and provide no substantial, independent value to prescribers.           See FAC ¶ 95

   (describing medicine-specific programs for Betaseron, Nexavar, and Adempas), and ¶ 146

   (alleging “reimbursement support services for Prescribers who wrote prescriptions for Betaseron

   or Nexavar”). The OIG issued guidance in 2003 regarding whether support services can trigger

   AKS liability, noting that “support services . . . tied to support of the purchased product” do not

   constitute illegal remuneration under the AKS without some additional showing of other

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   “substantial independent value to the purchaser.”       OIG Compliance Program Guidance for

   Pharmaceutical Manufacturers (“Compliance Program Guidance”), 68 FR 23731-01, 2003 WL

   2010428, at *23735. OIG has similarly explained that services with no independent value “apart

   from the products” do not run afoul of the AKS. See, e.g., OIG Adv. Op. 00-10, 2000 WL

   35747420, at *4 (“Drug manufacturers often offer free assistance to physicians and other

   providers by serving as a clearinghouse for information regarding insurance coverage criteria and

   reimbursement levels for their products. Since these services have no independent value to

   providers apart from the products, . . . these services have no substantial independent value and

   do not implicate the [AKS].”).

           Courts addressing this issue agree with the OIG’s interpretation. See U.S. ex rel. Forney

   v. Medtronic, Inc., No. CV 15-6264, 2017 WL 2653568, at *4 (E.D. Pa. June 19, 2017).

   Relators’ education and reimbursement support allegations are virtually identical to those made

   and dismissed in Medtronic. Id. at *4. Specifically, the Medtronic relator challenged “free

   assistance on billing [Medtronic’s] devices to federal health care programs”, id. at *2, just as

   Relators here challenge Defendants providing “reimbursement support services” to doctors who

   prescribed the Medicines. FAC ¶ 91. The Medtronic relator, just as Relators here, similarly

   claimed the services constituted “free labor” provided by the manufacturer in order to induce

   physicians to use Medtronic products. Compare 2017 WL 2653568 at *4, with FAC ¶¶ 89, 91.

           In granting Medtronic’s motion to dismiss, the court stated that “product support services

   that are ‘specifically tied to support of the purchased product’ standing alone do not implicate the

   AKS”:

           [S]uch product support services are permissible unless they are not tied to the
           product purchased, or if they provide some substantial independent value to the
           purchaser. . . . Offering well-supported products might induce physicians to



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          purchase Medtronic products, but only because they are better-supported products
          than competing products.

   Medtronic, 2017 WL 2653568 at *4 (citing OIG Compliance Guidance at 19-20) (emphasis

   added); see also OIG Adv. Op. 12-20, 2012 WL 7148096, at 1-3 (concluding that situation in

   which a hospital provided physicians “free access” to an “Interface to transmit to the [hospital]

   orders for laboratory . . . services to be performed by the [hospital] . . . would not generate

   prohibited remuneration under the anti-kickback statute” because the Interface and related

   support services were “integrally related to the Requestor’s services, such that the free access

   would have no independent value to the Physicians apart from the services the Requestor

   provides”).

          Here, Relators’ own allegations in the FAC satisfy the OIG test and foreclose their claims

   premised on nurse educator programs and reimbursement services. The FAC alleges that the

   services are tied to the products purchased. See, e.g., FAC ¶¶ 95, 97, 150. Relators’ express

   acknowledgement that the alleged services were limited to the specific products is fatal to any

   claim that the subject activities constitute unlawful remuneration to doctors under the AKS.

          As the OIG has implied, services that are integrally related to only the products

   purchased do not provide “substantial independent value” because they lack broader application

   in the doctor’s practice. But even if such services could theoretically provide value independent

   from the purchased product, the services described in the FAC do not. As in Medtronic, Relators

   here speculate that the services “reduced the time and cost” of treating patients, provide “tangible

   benefits,” “freed up time to see other patients”, and “increased profitability.” Id. at ¶¶ 102, 104,

   106-07, 147, 151, 163.       These allegations do not plausibly demonstrate the “substantial

   independent value” to doctors’ offices that is needed for an AKS violation. At most, Relators’

   allegations, if true, would show only that the Defendants “offer[ed] well-supported products,”


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   Cf. Medtronic, 2017 WL 2653568, at *4, but fail to plead a violation of the AKS violation and,

   therefore, “falsity” under the FCA.1

                   2.       Relators Fail to Allege Plausible Facts That Unlawful Remuneration Was
                            Paid to Nurse Educators to Induce Them to Recommend the Medicines
                            (Theory Two).

           Relators do not allege that Defendants’ payments to nurse educators for merely educating

   doctors and patients about the Medicines violate the AKS. Relators’ second theory, instead,

   alleges a violation of the AKS based upon salary payments to nurse educators for the provision

   of educational services by merely labeling these services as efforts to “recommend” the

   Medicines based upon inferences Relators argue should be drawn from the FAC’s factual

   allegations. But even if this legal theory were sound—which, for the reasons discussed below, it

   is not—it is not supported by the FAC’s fact allegations. Relators’ assertion that the nurses

   recommended those products is based entirely on a mere inference that Relators argue should be

   drawn from other identified fact allegations.             Those other fact allegations plainly do not

   reasonably support any such inference. The FAC thus fails the Twombly/Iqbal requirement to

   plausibly allege this AKS violation theory.

           The FAC concedes that its allegation that the nurse educators recommended the products

   at issue is merely an inference, or “conclusion,” that Relators argue “is compelled by numerous

   facts” alleged in the FAC. FAC ¶ 116. But none of those “numerous facts” reasonably support

   that inference. Indeed, the fact allegation that Relators rely on most heavily for this inference—

   an allegation that the nurse educators were not permitted to talk to doctors or patients about


   1
     Moreover, any allegations of “substantial independent value” fail for the additional reason that they are
   not pled with the particularity required by Rule 9(b). Relators have pled no details to demonstrate how
   the alleged nurse education and support services actually provided any financial benefit for the doctors.
   “Simply stating that services generally benefited [prescribers’] bottom lines or that physicians used [the]
   services ‘in lieu of having to pay for their own employees’ is not sufficiently specific to meet the pleading
   requirements of Rule 9(b) . . . .” Medtronic, 2017 WL 2653568 at *4.

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   products other than those at issue—is more consistent with the nurse educators limiting their

   roles to educating others about only the Medicines, as opposed to affirmatively recommending

   those products to doctors or patients. Id. at ¶¶ 131-39.

          The other “numerous facts” on which the FAC relies to support Relators’ conclusion that

   nurse educators recommended the Medicines fare no better. All are entirely consistent with

   merely educating about those products, as opposed to recommending them. Id. at ¶¶ 117-20

   (nurses were trained in how to interact with prescribers; no training to “recommend” the

   Medicines); id. at ¶¶ 121-24 (nurses coordinated with sales reps on visits to doctors; no mention

   of nurses recommending products to doctors); id. at ¶¶ 125-30 (nurses gained access to doctors;

   no mention of recommending products to doctors); id. at ¶¶ 140-44 (nurses were “educating

   patients”; no mention of recommending products to patients).

          The alleged statements by the nurse educators upon whose alleged “confidential

   interviews” the FAC is expressly based are inconsistent with any inference that the nurses were

   recommending products, as opposed to providing education services. The FAC quotes from

   hand-selected excerpts of the alleged interviews, but none of those statements even suggests that

   the nurses went beyond educating and into recommending any products. Id. at ¶ 125 (discussing

   arranging meetings with doctors; no mention of recommending any product); id. at ¶ 135

   (discussing communicating with doctors about patients; no mention of recommending any

   product); id. at ¶ 138 (discussing “educating” other nurses; no mention of recommending any

   product); id. at ¶ 142 (discussing “educating patients”; no mention of recommending any

   product).

          The gist of Relators’ theory that the nurse educators recommended the Medicines is that

   the nurse educators’ access to doctors and nurses put them “in a prime position to recommend”



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   those Medicines and to thus further the Defendants’ sales objectives. Id. at ¶ 140. But alleging

   mere “opportunity and motive” does not reasonably support an inference of action. See, e.g.,

   Twombly, 550 U.S. at 555 (“Factual allegations must be enough to raise a right to relief above

   the speculative level.”); see also Griffin Indus., Inc. v. Irvin, 496 F.3d 1189, 1205–06 (11th Cir.

   2007) (“Our duty to accept the facts in the complaint as true does not require us to ignore

   specific factual details of the pleading in favor of general or conclusory allegations.”).

          Moreover, Relators’ legal premise—that “the AKS prohibits pharmaceutical companies

   from paying non-employees to ‘recommend’ its drugs to others,” FAC ¶ 114—is simply wrong.

   The AKS has both statutory and regulatory “safe harbors” expressly permitting pharmaceutical

   companies to engage non-employees to provide services. See 42 U.S.C. § 1320a-7b(b)(3)(C); 42

   C.F.R. § 1001.952(d) (listing relevant factors in evaluating “personal services and management

   contracts” for non-employee agents, including those engaged in promotion). And in direct

   contrast to Relators’ legal conclusion, the OIG’s Compliance Program Guidance makes crystal

   clear that merely paying a third-party contractor to “recommend” a product, without more, is not

   a violation of the AKS. See 68 FR 23731-01, at 23739 (“Sales agents, whether employees or

   independent contractors, are paid to recommend . . . the items they offer for sale on behalf of the

   pharmaceutical manufacturer they represent. Many arrangements can be structured to fit in the

   employment or personal services safe harbor.”) (emphasis added).

          Relators have, at most, alleged that Defendants paid nurse educators to educate others

   about the Medicines. This is not an AKS violation.

          B.      Relators Have Failed to Allege Facts That Establish the Requisite Scienter.

          Relators fail to plead sufficient facts to demonstrate the necessary FCA element that each

   defendant “knowingly” caused the submission of false claims. See Bollinger Shipyards, 775

   F.3d at 259. “Knowingly” is defined in the FCA to “mean that a person, with respect to

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   information—(i) has actual knowledge of the information, (ii) acts in deliberate ignorance of the

   truth or falsity of the information, or (iii) acts in reckless disregard of the truth or falsity of the

   information.” 31 U.S.C. § 3729(b)(A). An incorrect interpretation of “vague provisions or

   regulations” does not create a “knowingly” false claim. See United States v. Southland Mgmt.

   Corp., 326 F.3d 669, 682 (5th Cir. 2003) (en banc) (Jones, J., concurring); see also U.S. ex rel.

   Johnson v. Kaner Med. Grp, P.A., 641 F. App’x 391, 394 (5th Cir. 2016) (noting “knowingly” is

   “an elevated standard” requiring more than “negligence or gross negligence”). Only a “lie is

   actionable” under the FCA, “not an error.” Id.

          As explained above, Relators’ theory that the claims at issue were “false” is based

   entirely on the allegation that Defendants violated the AKS. To plead a violation of the FCA

   under this theory, relators must therefore plausibly allege that Defendants knew their acts, as

   knowledge is defined in the FCA, violated the AKS and therefore “knowingly” caused others to

   submit a false claim. Relators have failed to meet this standard. See U.S. ex rel. Jamison v.

   McKesson Corp., No. 2:08-CV-214, 2012 WL 487998, at *4 (N.D. Miss. Feb. 14, 2012) (“[A]

   claim is legally false when the claimant knowingly falsely certifies that it has complied with a

   statute or regulation the compliance with which is a condition for Government payment.”)

   (emphasis added).

          A defendant cannot “knowingly” cause another to submit a false claim on the basis of an

   underlying legal violation where the defendant’s conduct complied with an objectively

   reasonable interpretation of the law. See U.S. ex rel. Purcess v. MWI Corp., 807 F.3d 281, 288–

   89 (D.C. Cir. 2015). The Supreme Court has held that “[w]here . . . the statutory text and

   relevant court and agency guidance allow for more than one reasonable interpretation, it would

   defy history and current thinking to treat a defendant who merely adopts one such interpretation



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   as a knowing or [willful] violator.” Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 70 n.20 (2007);

   see also U.S. ex rel. K & R L.P. v. Mass. Hous. Fin. Agency, 530 F.3d 980, 983 (D.C. Cir. 2008)

   (applying Safeco to affirm summary judgment for defendant in FCA case); U.S. ex rel. Gudur v.

   Deloitte Consulting LLP, 512 F. Supp. 2d 920, 932 (S.D. Tex. 2007) (“Claims are not ‘false’

   under the FCA when reasonable persons can disagree regarding whether service was properly

   billed to the Government.”), aff’d sub nom. U.S. ex rel. Gudur v. Deloitte & Touche, No. 07-

   20414, 2008 WL 3244000 (5th Cir. Aug. 7, 2008). Moreover, Relators’ FCA claims are based

   on alleged violations of the AKS, which additionally requires that the Defendants act “willfully,”

   i.e., “with the specific intent to do something the law forbids.” United States v. Gibson, 875 F.3d

   179, 188 (5th Cir. 2017) (quotation and citation omitted); see also United States v. Njoku, 737

   F.3d 55, 64 (5th Cir. 2013) (same).

          Relators have failed to plead any facts demonstrating that Defendants actually knew that

   their product-specific support services violated the AKS or were otherwise unlawful. Instead,

   Defendants’ product support services complied with an objectively reasonable interpretation of

   the AKS case law and relevant OIG guidance documents.

          Theories One and Three: As an initial matter, Relators fail to even allege that Defendants

   knew the programs at issue violated the AKS. Without such allegations, Relators fail to plead

   that Defendants knowingly caused the submission of a false claim. However, even if Relators

   had made this allegation, as explained in Section I.A.1, Relators cannot establish knowledge

   under the FCA because their allegations do not, as a matter of law, establish a violation of the

   AKS under the reasoning set forth in the OIG Compliance Program Guidance and Medtronic. At

   the very least, the OIG Compliance Program Guidance shows that it is not clear that these

   programs violate the AKS, which prevents any finding of a knowing FCA violation. See Gudur,



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   512 F. Supp. 2d at 932. As a result, Relators have not and cannot establish the necessary scienter

   for these claims and all claims under these theories should be dismissed with prejudice.

          Theory Two: Relators have not sufficiently pled that Defendants paid nurse educators to

   recommend the Medicines. But even assuming they had done so, Relators cannot establish that

   “promotional” activity by the nurse educators necessarily would violate the AKS and therefore

   that Defendants knew those acts violated the AKS. As explained above, supra Section I.A.2,

   statutory and regulatory “safe harbors” allow pharmaceutical companies to utilize non-

   employees in promotional activities. And the OIG Opinion that Relators rely on states only that

   the use of “a physician or other health care professional . . . involved in [marketing] activity” is

   “closely scrutinized.” OIG Adv. Op. 11-08, 2011 WL 4526111, at *4. It does not state such

   activity is categorically prohibited. By not prohibiting health care professionals from engaging

   in all situations of marketing activity, the OIG Guidance makes it, at the very least, ambiguous

   whether these programs violate the AKS. This ambiguity allows for more than one reasonable

   interpretation of the law and, even assuming Relators’ allegations as true, prohibits as a matter of

   law any finding that Defendants knowingly violated the FCA under Theory Two. See Gudur,

   512 F. Supp. 2d at 932.

          Additionally, the specific facts alleged in the FAC contradict any “knowing” violation

   under Theory Two. The nurse educators quoted explained that they understood they “were there

   to help educate,” not recommend. FAC ¶ 136. The educators were trained on the Medicines and

   instructed to not “talk about competitor drugs.” Id. at ¶¶ 118, 132. The facts alleged show that

   Defendants took measures to ensure the purpose of each nurse was to educate about the

   Medicines, not to recommend it over competing products. In short, Relators have alleged no

   facts to show a nurse educator did more than educate, and they certainly have failed to establish



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   that Defendants knew the nurse educators did so. These allegations from the FAC negate any

   plausible inference that the Defendants knowingly caused the submission of false claims.

          C.      Relators Have Failed to Allege Facts to Establish Causation.

          To state an AKS-based FCA claim, Relators also must allege facts to show the

   Defendants’ challenged actions “actually caused . . . physicians to prescribe” the Medicines and

   that those prescriptions were then reimbursed by the Government. See U.S. ex rel. King v.

   Solvay Pharmaceuticals, Inc., 871 F.3d 318, 332 (5th Cir. 2017) (“[I]t would be speculation to

   infer that compensation for professional services legally rendered actually caused the physicians

   to prescribe [defendant’s] drugs to Medicaid patients.”) (emphasis added). The relator must

   “sufficiently link” the payment of remuneration “to a referral, patient, or claim.” United States v.

   Vista Hospice Care, Inc., No. 3:07-CV-00604-M, 2016 WL 3449833, at *24 (N.D. Tex. June 20,

   2016), reconsideration denied sub nom. U.S. ex rel. Wall v. Vista Hospice Care, Inc., No. 3:07-

   CV-0604-M, 2017 WL 5483747 (N.D. Tex. Nov. 14, 2017). Mere temporal proximity of the

   remuneration to the claims, or statistical probability, is not enough. Id. at *25 (“The mere fact

   that 93% of Defendants’ patients are Medicare patients is not sufficient to show Defendants

   submitted claims that falsely certified compliance with the AKS.”).

          As an initial matter, Relators’ own allegations suggest the prescription of the Medicines

   was caused by factors other than any alleged remuneration. The confidential interviewees from

   Relator Health Choice Group’s investigation admit that the Medicines are “beneficial” and the

   data “clearly show[s]” that the Medicines are superior to competing drugs. See FAC ¶¶ 137,

   143. As such, without additional facts that are not found in the FAC, causation is speculative.

          Theories One and Three: Relators offer conclusory allegations regarding the process for

   the submission of claims to Medicare, Medicaid, VA, and Tricare, id. at ¶¶ 41-86, but they fail to

   demonstrate the necessary causal link between the submission of these claims and Theories One

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   and Three. They do not allege any specific instance in which one of the Medicines was

   prescribed or a claim was submitted as a result of either the nurse educator programs or the

   reimbursement support services. Nor do they then make the necessary connection that any such

   claim was then submitted through the Medicare, Medicaid, VA, or Tricare programs to the

   Government. Moreover, there are no allegations under which the remuneration alleged was

   conditioned on doctors prescribing Medicines to patients who would then be reimbursed from

   the Government. See King, 871 F.3d at 332 (“There was nothing illegal about paying physicians

   for their participation in these types of programs and there is no evidence that participation was

   conditioned upon prescribing [defendant’s] drugs to Medicaid patients.”).

           In short, Relators’ allegations are inadequate, and as courts have held, it is not enough for

   Relators to “portray[] the scheme and then summarily conclude[]” that false claims were

   submitted. See U.S. ex rel. Bennett v. Medtronic, Inc., 747 F. Supp. 2d 745, 782 (S.D. Tex.

   2010); see also U.S. ex rel. Kroening v. Forest Pharmaceuticals, Inc., 155 F. Supp. 3d 883, 893-

   94 (E.D. Wisc. 2016) (granting motion to dismiss FCA claims where relator could provide only

   “scant details” linking scheme to government-reimbursed prescriptions).

           Theory Two: Relators similarly fail to establish a causal link between the submission of

   false claims and the conduct alleged in Theory Two. Despite conclusory statements about

   “white coat marketing,” Relators do not make the needed connection that false claims resulted

   from these practices. U.S. ex rel. Colquitt v. Abbott Labs., 858 F.3d 365, 372 (5th Cir. 2017)

   (granting motion to dismiss where “[n]o particulars [were] alleged to show” causation and where

   “complaint never link[ed] the alleged carrots [i.e., remuneration] to the purchase and use of the

   stents at either of the hospitals.”).




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          Relators concentrate on repeating that “nurse educators gained access to Prescribers,” see

   FAC ¶¶ 125-26, 128, 130, but they do not explain how this access—or any of the alleged actions

   of nurse educators in the course of this alleged “access”—resulted in false claims that were then

   submitted to the Government. Without the details of the needed causal link, causation under

   Theory Two is based on speculation alone, which is not enough. See King, 871 F.3d at 332.

   II.    All of Relators’ FCA Claims (Counts 1-3) Should Be Dismissed Pursuant to Rule
          9(b) Because Relators Have Not Pled Fraud With Particularity.

          Where, as here, a relator bases an FCA claim on a violation of the AKS, the elements of

   both must be pled with the particularity required by Fed. R. Civ. P. 9(b). Paramedics Plus LLC,

   2017 WL 4812443, at *4. This particularity means that the plaintiff must “set forth the who,

   what, when, where, and how of the alleged fraud.” Id. at *3 (citing U.S. ex rel. Stephenson v.

   Archer W. Contractors, L.L.C., 548 F. App’x 135, 139 (5th Cir. 2013)). Critical to meeting that

   burden, Relators must tie the submission of actual claims to the underlying conduct – here,

   alleged kickbacks – that render the claims “false.” See, e.g., U.S. ex rel. Greenfield v. Medco

   Health Solutions, Inc., 880 F.3d 89, 98 (3d Cir. 2018) (“For a False Claims Act violation,

   [relator] must prove that at least one of [the] claims sought reimbursement for medical care that

   was provided in violation of the Anti-Kickback Statute”).

          The Fifth Circuit applies these high standards “with bite” and “without apology.” U.S. ex

   rel. Grubbs v. Kanneganti, 565 F.3d 180, 185 (5th Cir. 2009). A rigorous application of Rule

   9(b) works to protect “a defendant’s reputation” from the harm caused by “general [and]

   unsubstantiated fraud accusations,” and to “prevent[] a claimant from searching for a valid

   particular claim after filing suit.” Am. Realty Trust, Inc. v. Hamilton Lane Advisors, Inc., 115 F.

   App’x 662, 667 (5th Cir. 2004).




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           Relators have alleged only general, nationwide schemes without any specifics regarding

   actual support services and how those services purportedly provide substantial, illegal value to

   physicians.2 Moreover, Relators have failed to allege with particularity the submission of a

   single actual false claim, or to link any such false claims to the alleged kickback schemes. The

   lack of detail also results in a failure to plead the essential FCA elements with the required

   particularity.   See Paramedics Plus LLC, 2017 WL 4812443, at *4. Each of these is an

   independent basis for dismissal under Rule 9.

           A.       The FAC Lacks Critical Details Regarding the Who, What, When, Where, and
                    How of the Alleged Kickback Schemes.

           Relators’ failure specifically to describe the three alleged kickback schemes is hardly

   surprising given the superficiality of their “investigation.” See FAC ¶ 87. The FAC provides no

   details concerning the knowledge of Relator Health Choice, and Relator Green never worked

   directly for any of the Defendants. The investigatory effort involved alleged interviews with a

   handful of former employees.3 The FAC is lacking in details regarding the who, what, when,

   where, and how of Defendants’ alleged kickback schemes and how those schemes are tied to the

   submission of any false claims.

                    1.    Details Absent in Theory One (Nursing Services as Remuneration to
                          Doctors)

           The FAC describes only generally a nurse educator program in which Defendants

   employed trained nurses to assist patients who were taking the Medicines, characterizing the


   2
     The fact that Relators identify the “assigned marketing region” of each Interviewee is insufficient to
   meet Rule 9(b)’s “where” requirement. U.S. ex rel. Woodard v. DaVita, Inc., No. 1:05-CV-227, 2010 WL
   11531271, at *6 n.2 (E.D. Tex. Dec. 21, 2010) (dismissing FCA claim where relator named several cities
   in which scheme occurred without naming “a single specific site . . .where the alleged fraud occurred”).
   3
    Of the seven confidential interviewees referenced in the FAC, according to Relators, four worked for
   Lash, two for Bayer, one for ABC, and none for Amgen nor Onyx. FAC ¶ 87. Relator Green worked for
   non-party Ashfield. Id. at ¶ 27.

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   “scheme” as free services to induce doctors to prescribe those products. See, e.g., id. at ¶ 92.

   Relators do not provide dates, approximate or otherwise, during which the Adempas patient

   support program, AIM, was in operation. Id. at ¶ 95. They explain that one of the nurse

   educator programs, Beta Plus, “has been around for at least the last decade” before ending in

   2015, and another, Nex Connect, “began at least as far back as 2009” and is still in operation.

   Id. This level of specificity as to timing is wholly inadequate under Rule 9. See U.S. ex rel. Lam

   v. Tenet Healthcare Corp., 481 F. Supp. 2d 673, 688 (W.D. Tex. 2006) (alleging only the year in

   which fraud occurred was “insufficient to meet Rule 9(b)’s requirements to plead the ‘when’

   with specificity”).

          The “who,” “where,” and “how” also are lacking in detail adequate to satisfy Rule 9. In

   FAC Paragraph 189, Relators list fifteen anonymous doctors (“Prescribers” 1-15) and the city

   and state in which they practiced, without providing details relevant to the alleged schemes.4 For

   nine of these fifteen doctors, Relators do not even allege that the office or its patients utilized the

   nurse educator program. FAC ¶ 189 (alleging that Prescribers 1-3 and 8-10 “had patients

   educated by the nurse educators,” but as to Prescribers 4-7 and 11-15, stating only that CI-2 or

   CI-5 “worked with” the Prescriber). It is wholly unclear how these doctors, their staffs, or their

   patients fit into the alleged schemes, or how any interactions could possibly have resulted in the

   submission of false claims. Moreover, even as to the six Prescribers whose patients allegedly

   received nurse education services, Relators offer no details regarding (1) who was involved (not

   a single staffer, patient, or anyone other than, by implication, the anonymous interviewee him- or

   herself); (2) where the nurse education occurred, given Relators’ allegation that it was not

   generally at the doctors’ offices, see id. at ¶ 96; or (3) when (beyond the general assertion that

   4
     The Prescribers are located exclusively in Minnesota and New Jersey, FAC ¶ 189, despite Relators’
   allegation that the “programs were/are available to patients across the United States.” Id. at ¶ 95.

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   “CI-2 educated Betaseron patients until 2015” and “CI-5 educated Nexavar patients in 2014 and

   2015,” id. at ¶ 189).5 See U.S. ex rel. Woodard v. DaVita, Inc., No. 1:05-CV-227, 2011 WL

   13196556, at *12 (E.D. Tex. May 9, 2011) (“Rule 9(b) simply does not allow [relator] to rest his

   pleading of a years-long scheme . . . on two allegations, each of which is itself significantly

   lacking in supporting facts.”).

          Furthermore, Relators offer no detail whatsoever to substantiate the bald and conclusory

   allegations that these support services provide “a tangible benefit,” “freed up time to see other

   patients,” and “increased profitability.” FAC ¶¶ 106-07. Relators do not identify a single doctor

   who eliminated staff positions (or who such staff are) or otherwise received “substantial value”

   as a result of support services provided for the three Medicines at issue. This is not surprising

   because education services tailored to patients taking a specific medication would not allow

   doctors to eliminate entire administrative positions, significantly reduce costs, which are spread

   across many types of patients and treatments, or increase patient visits. Relators’ failure to

   allege office-specific activities of the educators or value to doctors’ offices is fatal to Theory

   One.

                  2.      Details Absent in Theory Two (Remuneration to Nurses, or “White Coat
                          Marketing”)

          The FAC’s paragraphs devoted to Theory Two are similarly devoid of specifics. See id.

   at ¶¶ 108-45. Relators allege that “[s]ince at least 2006,” defendants “have relied on nurse

   educators to help promote the Covered Products, obtain better access to Prescribers, and

   influence Prescribers to prescribe the Covered Products.” Id. at ¶ 108. Relators claim that

   “training was a vital component” of the scheme, id. at ¶ 117, and that, “[o]nce trained, nurse

   5
     For additional reasons discussed below, Paragraph 189 also lacks adequate details regarding the
   submission of actual reimbursement claims and the link between such claims and the three alleged
   kickback schemes. See infra Section II.B.

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   educators immediately began to gain access and infiltrate Prescriber offices and facilities,” id. at

   ¶ 125. But Relators allege nothing about who trained the nurse educators; when such training

   took place; what facilities the nurse educators “infiltrate[d]”; where, other than “across the

   [entire] nation” these efforts occurred; or when, other than sometime over the past twelve years,

   any of this took place. Id. at ¶¶ 108, 125, 190.

          Nor do Relators even generally allege any doctors or patients who may have been

   influenced by the so-called “white coat marketing” scheme such that a claim may have been

   caused to be submitted. In Paragraph 189, which purports to be a list of Prescribers “who

   received the free nurse education services or Support Services,” there is no mention whatsoever

   of the educational services relevant to Theory Two. See id. at ¶ 189. The absence of these

   fundamental details is fatal to the Theory Two allegations under Rule 9.

                  3.      Details Absent in Theory Three (Reimbursement Services as Remuneration
                          to Doctors)

          Relators generally allege that Defendants offered “free reimbursement support services”

   “to induce Prescribers to prescribe Betaseron and Nexavar to their patients.” Id. at ¶¶ 146, 150.

   The services included “patient insurance benefit verification services, patient prior authorization

   services, and coverage appeals.” Id. at ¶ 148. Relators recite publicly available information

   about the insurance industry and the kinds of administrative burdens it places on doctors’ offices

   across the country, see, e.g., id. at ¶¶ 151-55, 159-60, but provide virtually no detail about the

   fraudulent scheme Defendants allegedly carried out to capitalize on those burdens.

          As with the other theories, Relators have provided inadequate detail regarding doctors

   who actually utilized reimbursement services or were influenced to prescribe medicines by the

   availability of those services. Only four of the fifteen Prescribers listed in Paragraph 189 are

   alleged to have “utilized the Support Services” at all, without any mention of when they sought


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   reimbursement, for which patients, or for what amounts.               Id. at ¶ 189.     As to those four

   Prescribers, the only individuals mentioned are CI-2 or CI-5 and the Prescribers, themselves. Id.

   But CI-2 and CI-5 are nurse educators, not reimbursement support representatives. Id. at ¶ 87.

   And by Relators’ own account, “support staff,” not prescribers, typically perform the

   administrative function to which the reimbursement services are relevant. Id. at ¶ 155. This

   means that the FAC, including newly added Paragraph 189, which includes only prescribers,

   does not identify any individuals who were involved in Theory Three.

           Finally, despite repeatedly asserting that the reimbursement services provided “great

   value,” “real value,” and “tangible financial incentives” to prescribers, Relators do not allege

   anywhere in the FAC, much less with the required specificity, that a single physician eliminated

   administrative staff or somehow increased her patient load as a result of Defendants’

   reimbursement support services. As with their allegations regarding nursing support services,

   this is unsurprising because Relators’ theory as to how reimbursement activities possibly could

   result in significant cost reductions or an increase in patient visits is implausible.

           Courts in the Fifth Circuit routinely dismiss FCA complaints for failing to provide similar

   types and levels of detail.6 The glaring dearth of detail across the alleged kickback schemes in

   this case likewise compels dismissal under Rule 9(b).




   6
     See U.S. ex rel. Doe v. Lincare Holdings, Inc., No. 5:15-CV-19-DCB-MTP, 2017 WL 752288, at *6
   (S.D. Miss. Feb. 27, 2017) (dismissing FCA action as “lack[ing] the requisite indicia of the specific
   scheme to submit false claims” where the complaint “fails to identify any [] personnel who [participated
   in the scheme] or any billing personnel who submitted false claims as a result”); U.S. ex rel. Bennett v.
   Medtronic, Inc., 747 F. Supp. 2d 745, 771–72 (S.D. Tex. 2010) (dismissing FCA suit because the relator
   did not allege “the time or place of the allegedly false representations regarding [the drug], the nature or
   content of claims made which were allegedly fraudulent, or that doctors to whom Plaintiff promoted off-
   label use of [the drug] actually submitted false claims to the Government for off-label uses”).

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          B.      Relators Have Provided No Detail Regarding the Submission of False Claims,
                  Much Less “Reliable Indicia” That False Claims Actually Were Submitted As a
                  Result of the Alleged Schemes.

          A separate basis for dismissal under Rule 9, Relators have failed to plead facts about the

   actual submission of any false claims as a result of the alleged kickback schemes. It is well

   established that the sine qua non of an FCA claim is the submission of an actual false claim for

   payment to the Government. U. S. ex rel. Foster v. Bristol-Myers Squibb Co., 587 F. Supp. 2d

   805, 813 (E.D. Tex. 2008). The FCA “statute attaches liability, not to the underlying fraudulent

   activity . . . but to the ‘claim for payment.’” U.S. ex rel. Patton v. Shaw Servs., L.L.C., 418 F.

   App’x 366, 369 (5th Cir. 2011) (citation omitted). Even if Relators had sufficiently pled the

   existence of such “claims for payment,” Relators must also allege with particularity that

   Defendants’ challenged conduct caused them to be submitted. Colquitt, 858 F.3d at 372.

          In the Fifth Circuit, if a relator cannot specify details of a particular false claim for

   payment, he must provide “reliable indicia” that lead to a “strong inference” that false claims

   were actually submitted. U.S. ex. rel. Nunnally v. W. Calcasieu Cameron Hosp., 519 F. App’x

   890, 895 (5th Cir. 2013).       Conclusory allegations that false claims were submitted are

   “insufficient to serve as ‘reliable indicia that leads to a strong inference that false claims were

   actually submitted.’” U.S. ex rel. Vavra v. Kellogg Brown & Root, Inc., 903 F. Supp. 2d 473,

   487 (E.D. Tex. Feb. 8, 2011), rev’d on other grounds, 727 F.3d 343 (5th Cir. 2013); see also

   Nunnally, 519 F. App’x at 895 (finding “generalized allegations of false claims presented to the

   Government do not ‘alleg[e] particular details of a scheme’” under Fifth Circuit’s key Grubbs

   decision).

          In Grubbs, the relator had first-hand knowledge of the fraudulent billing scheme. The

   court found that Grubbs’ complaint satisfied Rule 9(b) where he named the doctors who

   allegedly perpetrated the scheme to bill for patient visits that never occurred; identified the date

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   that the doctors invited him to participate; identified the dates on which the nursing staff

   attempted to assist him in recording patient visits that did not occur; and provided dates on which

   the doctors billed Medicare and Medicaid for medical services that the doctors did not actually

   provide and the particular services they purported to provide. Grubbs, 565 F.3d at 191–92.7

           Here, by contrast, Relators make extremely broad and conclusory allegations as to the

   submission of false claims.         See FAC ¶¶ 184-86 (alleging that the fraudulent scheme

   encompasses “every Prescriber that, since at least 2006, received . . . ‘free nurse’ services,” “a

   visit from a nurse educator,” or “[reimbursement] Support Services” relating to the three

   products at issue); id. at ¶ 188 (alleging Defendants “have caused pharmacies, PBMs, Part D

   sponsors, fiscal intermediaries and others to submit millions of dollars in claims to Government

   programs . . . as a result of Defendants’ illegal marketing and quid pro quo arrangements.”).

   Relators’ allegations are unsubstantiated, and as courts have held, it is not enough for Relator to

   “portray[] the scheme and then summarily conclude[]” that false claims were submitted as a

   result. See U.S. ex rel. Bennett v. Medtronic, Inc., 747 F. Supp. 2d 745, 782 (S.D. Tex. 2010);

   see also Forest Pharmaceuticals, Inc., 155 F. Supp. 3d at 893-94 (granting motion to dismiss

   FCA claims based on alleged AKS violations and a well-pled fraud scheme where relator could

   provide only “scant details” linking that detailed scheme to any government-reimbursed

   prescriptions allegedly resulting from that scheme). In fact, the FAC does not identify a single


   7
     Courts routinely require a similar level of detail, even under a “reliable indicia” standard, for pleading
   the submission of false claims. See, e.g., U.S. ex rel. Duxbury v. Ortho Biotech Prods., L.P., 579 F.3d 13,
   29–30 (1st Cir. 2009), cert. denied, No. 09-654 (2010) (finding allegations “a close call,” but sufficient
   under a “more flexible” Rule 9(b) standard because the relator identified eight specific hospitals that
   submitted false claims along with “the dates and amounts of the false claims filed by these providers with
   the Medicare program”) (citation omitted); U.S. ex rel. Gonzalez v. Fresenius Med. Care N. Am., No. EP-
   07-cv-247, 2008 WL 4277150, at *5 (W.D. Tex. Sept. 2, 2008) (allegations provided names of physicians
   perpetrating fraud, “the number of instances” of fraudulent services, “exact dates,” the “medical histories”
   of relevant patients, “the number of claims submitted,” “the number of payments fraudulently obtained,”
   and “how and by whom false records were generated”).

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   doctor, patient, or anyone else who submitted a false reimbursement claim, let alone the

   approximate date or amount of the claim. Courts routinely dismiss FCA complaints for lacking

   such details. See Lam, 481 F. Supp. 2d at 688 (dismissing complaint that did not “identify . . .

   specific physicians” who submitted false claims or “allege at least approximate dates of the

   alleged fraud”) (citation omitted); U.S. ex rel. Phillips v. Permian Residential Care Ctr., 386 F.

   Supp. 2d 879, 883 (W.D. Tex. 2005) (same).

           Despite Relators’ attempt in FAC Paragraph 189 to provide information regarding a few

   Prescribers, an obvious flaw in their allegations remains that they do not tie any of the

   inadequately detailed support services to the actual submission of any reimbursement claim. For

   instance, regarding “Prescriber 1”, who is representative8 of the remaining six Prescribers who

   allegedly received some type of support services, Relators state:

           Prescriber 1, a doctor located in Golden Valley, Minnesota. Prescriber 1 was
           among the 1,000 highest prescribers of Betaseron to Medicare patients in 2014
           and 2015. Prescriber 1 had patients educated by the nurse educators and utilized
           the Support Services provided by Defendants. CI-2 was first introduced to
           Prescriber 1 in 2007. CI-2 educated Betaseron patients until 2015, including
           patients of Prescriber 1.

  FAC ¶ 189.

           Relators assert that Prescriber 1 was at least the 1,000th highest prescriber of Betaseron

   for 2014-2015 (which could mean that she had only a few patients on the medicine). They then

   allege that Prescriber 1 “had patients” educated by CI-2 and “utilized the Support Services.” Id.

   At no point do Relators “tie” these allegations “together into particularized charges about

   specific fraudulent claims for payment.” U.S. ex rel. Kelly v. Novartis Pharm. Corp., 827 F.3d 5,

   8
     As explained above, see supra Section II.A.1, Relators have not alleged that Defendants provided any
   services whatsoever to nine of the fifteen doctors listed in Paragraph 189, instead opaquely stating that
   “CI-2 [or 5] worked with Prescriber[s]” 4, 5, 6, 11, 12, 13, 14, and 15. FAC ¶ 189. Prescriber 1 is
   “representative” of the remaining six doctors who Relators at least allege received (or that had patients
   receive) some type of support services.

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   15 (1st Cir. 2016). They do not allege any specific instance in which one of the Medicines was

   prescribed as a result of either the nurse educator programs or the reimbursement support

   services.9 Nor do they then make the necessary connection that a claim was then submitted

   through Government healthcare programs. See U.S. ex rel. King v. Solvay Pharmaceuticals, Inc.,

   871 F.3d 318, 332 (5th Cir. 2017) (“[I]t would be speculation to infer that compensation for

   professional services legally rendered actually caused the physicians to prescribe [defendant’s]

   drugs to Medicaid patients.”) (emphasis added). Although Relators allege that Prescriber 1 was a

   Top 1000 Medicare prescriber, they do not allege that the patients with whom CI-2 worked were

   covered by Government reimbursement programs or privately insured patients.                         Relators

   apparently hope the court will just assume that the alleged patients were Government

   beneficiaries.10

           The charts of publicly available information regarding Medicare and Medicaid

   reimbursements do nothing to remedy the disconnect between the alleged underlying conduct

   and any actual false claims for reimbursement. See FAC ¶¶ 192-204. At most, the charts

   generally show Medicare and Medicaid reimbursement for the Medicines in 2015 (the only year

   Medicare figures are included) and in some cases, from 2012 to 2014 (during which some

   Medicaid data is included). See United States v. Vista Hospice Care, Inc., No. 3:07-CV-00604-

   M, 2016 WL 3449833, at *24-25 (N.D. Tex. June 20, 2016), reconsideration denied sub nom.

   9
     Contrary to Relators’ liability theories, in fact, Relators’ own allegations suggest the prescription of the
   Medicines was caused by factors other than any alleged remuneration. The confidential interviewees
   from Relator Health Choice’s investigation admit that the Medicines are “beneficial” and the data “clearly
   show[s]” that the Covered Products are superior to competing drugs. See FAC ¶¶ 137, 143.
   10
     There are no allegations under which the services allegedly provided to prescribers were conditioned on
   the prescribers prescribing Medicines to patients who would be reimbursed from the government. See
   King, 871 F.3d at 332 (“There was nothing illegal about paying physicians for their participation in these
   types of programs and there is no evidence that participation was conditioned upon prescribing
   [defendant’s] drugs to Medicaid patients.”).



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   U.S. ex rel. Wall v. Vista Hospice Care, Inc., No. 3:07-CV-0604-M, 2017 WL 5483747 (N.D.

   Tex. Nov. 14, 2017) (“The mere fact 93% of Defendants’ patients are Medicare patients is not

   sufficient to show Defendants submitted claims that falsely certified compliance with the AKS.

   Courts regularly reject FCA claims which rely on probability arguments like Relator’s.”); see

   also U.S. ex rel. Booker v. Pfizer, Inc., 847 F.3d 52, 58 (1st Cir. 2017) (holding that “aggregate

   [information] reflecting the amount of money expended by Medicaid” on off-label prescriptions

   was “insufficient”” because it did not show “an actual false claim made to the [G]overnment.”).

   Nothing in the FAC indicates what portion, if any, of these claims were “false,” nor have

   Relators bolstered these figures with “factual or statistical evidence to strengthen the inference of

   fraud beyond mere possibility.”11 Nunnally, 519 F. App’x at 893; see also U.S. ex rel. Lawton v.

   Takeda Pharm. Co., 842 F.3d 125, 132 (1st Cir. 2016) (finding relator’s allegation that “as much

   as” 30% of Actos annual sales were for off-label prescriptions, combined with total

   reimbursement figures for Actos prescriptions during a certain period, failed “to show that

   doctors, patients, or patients’ private insurers did seek out federal reimbursement for off-label

   Actos prescriptions.”) (internal citation omitted).

           Relators’ utter failure to connect the alleged support services and kickback schemes to

   the submission of any actual false claims for payment compels dismissal under Rule 9.

           C.      Relators Have Failed to Sufficiently Distinguish Between the Alleged Acts of
                   Each Defendant.

           The lack of particularity pled in the FAC is apparent from the lack of specific allegations

   as to each Defendant. “[A] complaint containing ‘general allegations, which does not state with

   11
      Notably, Minnesota, the only state with allegations about specific Prescribers of Betaseron, see id. ¶
   189, only had 70 Betaseron patients on Medicare in 2015, see id. ¶ 192. Similarly, New Jersey, the only
   state with allegations about specific Prescribers of Nexavar, see id. ¶ 190, had just 153 Nexavar patients
   on Medicare in 2015, see id. ¶ 189. These low figures belie Relators’ insinuation (and bald assumption)
   that Medicare claims were submitted for the patients who benefitted from CI-2 and CI-5’s services.

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   particularity what representations each defendant made’ does not meet the Rule 9(b) particularity

   requirement.” U.S. ex rel. King v. Solvay S.A., 823 F. Supp. 2d 472, 546 (S.D. Tex. 2011), order

   vacated in part on reconsideration on other grounds, No. CIV.A. H-06-2662, 2012 WL 1067228

   (S.D. Tex. Mar. 28, 2012) (citing Unimobil 84, Inc. v. Spurney, 797 F.2d 214, 217 (5th Cir.

   1986)); see also Grubbs, 565 F.3d at 192 (evaluating sufficiency of allegations as to different

   defendants separately). “Rule 9(b) does not allow a complaint to merely lump multiple

   defendants together but requires plaintiffs to differentiate their allegations when suing more than

   one defendant and inform each defendant separately of the allegations surrounding his alleged

   participation in the fraud.” United States v. United Healthcare Ins. Co., 848 F.3d 1161, 1184

   (9th Cir. 2016) (quoting United States v. Corinthian Colls., 655 F.3d 984, 997-98 (9th Cir.

   2011)) (“flaw” in plaintiff’s allegations was “failure to allege particular details of the scheme as

   applied to” three of the defendants).

          Relators have improperly “lumped” all Defendants together in several ways. For

   example, although Relators concede that Amgen and Oynx only co-marketed the drug Nexavar

   and that Amgen and Onyx had no involvement in the manufacture or marketing of Betaseron and

   Adempas, see FAC ¶ 2, Relators nevertheless discuss all Defendants, all the Medicines, and all

   the alleged schemes together without setting forth the details of Amgen/Oynx’s own

   participation, if any, in the alleged activities. See, e.g., id. at ¶ 92 (“Bayer and Amgen offered

   free nurse education and patient management services to induce prescribers to recommend the

   Covered Products . . . .”); id. at ¶ 108 (“Bayer and Amgen have relied on nurse educators to help

   promote the Covered Products . . . and influence Prescribers to prescribe the Covered

   Products.”); id. at ¶ 146 (“Bayer and Amgen, with the assistance of Lash, offered . . . free

   reimbursement support services for Prescribers who wrote prescriptions for Betaseron or



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   Nexavar.”). Even allegations relating solely to Nexavar do not sufficiently plead the “who” of

   the alleged activity, as the drug is alleged to have been co-marketed by both Bayer and Amgen,

   making it impossible to determine which Defendant committed what alleged act. See id. at ¶ 2.

          The sources through which Relators conducted their investigation further highlight the

   lack of information as to particular Defendants. None of the CIs were employed by Amgen or

   Onyx, and of the eight individuals interviewed, only two worked with Nexavar (CI-5, employed

   by Lash, and CI-6, employed by Bayer). See id. at ¶ 87. Similarly, none of the CIs purport to

   connect ABC or Lash with the drug Adempas, even though it is included within Relators’ catch-

   all definition of “Covered Products.” Because Relators improperly draw all Defendants together

   without providing the requisite level of detail regarding their “role . . . in the alleged fraudulent

   scheme,” the claims should be dismissed. United Healthcare Ins. Co., 848 F.3d at 1184.

   III.   The Conspiracy Claim (Count 3) Should Be Dismissed Because the FAC Fails to
          Allege the Essential Elements of a Conspiracy Claim.

          FCA conspiracy requires “(1) the existence of an unlawful agreement between defendants

   to get a false or fraudulent claim allowed or paid by the Government and (2) at least one act

   performed in furtherance of that agreement.” Grubbs, 565 F.3d at 193 (quoting U.S. ex rel.

   Farmer v. City of Houston, 523 F.3d 333, 343 (5th Cir. 2008)). Moreover, Relators must show

   that conspirators had a “meeting of the minds . . . on the object or course of action,” U.S. ex rel.

   Reagan v. E. Tex. Med. Ctr. Reg’l Healthcare Sys., 274 F. Supp. 2d 824, 857 (S.D. Tex. 2003),

   aff’d, 384 F.3d 168 (5th Cir. 2004), as well as “a specific intent to defraud” the Government at

   the inception of the agreement, Farmer, 523 F.3d at 343. Relators must plead these elements

   with the particularity required by Rule 9(b). Grubbs, 565 F.3d at 193.

          As an initial matter, Relators’ conspiracy claim fails simply because they have not pled

   any underlying FCA violation, as explained above. U.S. ex rel. Graves v. ITT Educ. Servs., Inc.,


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   284 F. Supp. 2d 487, 509 (S.D. Tex. 2003), aff’d, 111 F. App’x 296 (5th Cir. 2004) (conspiracy

   claim failed as a matter of law because underlying FCA claims were dismissed under Rule

   12(b)(6)).

           In addition, Relators have not pled their conspiracy claim with the requisite particularity.

   Relators insist that “Bayer and Amgen conspired with Amerisource and Lash, physicians, and

   other health care professionals” to violate the FCA. FAC ¶ 218. Yet nowhere do Relators

   allege—let alone with particularity—that Bayer and Amgen had any unlawful agreement to

   conspire with each other, with Amerisource and Lash, or with other health care professionals to

   defraud the Government.12 That alone is fatal. U.S. ex rel. McLain v. Fluor Enters., Inc., No.

   CIV.A. 06-11229, 2013 WL 3899889, at *10 (E.D. La. July 29, 2013) (dismissal where

   complaint did not provide “any indication that any of the parties actually agreed to enter into the

   alleged conspiracy”). Indeed, this Court and others have found conspiracy claims with more

   specific allegations than exist in this case to be legally deficient. See, e.g., U.S. ex rel. Johnson

   v. Shell Oil Co., 183 F.R.D. 204, 208 (E.D. Tex. 1998) (dismissing conspiracy claims under Rule

   9(b) despite allegations of “a pattern of . . . coordinated schemes,” of misrepresentations through

   “buy/sell agreements between [defendants],” that defendants “knowingly employed these

   schemes in a calculated and concerted effort to cheat the United States,” that they “entered into

   [agreements] with each other” to make misrepresentations, and that “[e]very defendant

   performed an overt act in furtherance of the conspiracy.”).13


   12
     See Theory One, id. at ¶¶ 92-107 (merely making two conclusory statements that “Bayer and Amgen
   provided these services through Amerisource and Lash nurses,” id. at ¶ 92, and “with the assistance of
   Amerisource and Lash,” id. at ¶ 107); Theory Two, id. at ¶¶ 108-45 (only vaguely alleging that Bayer and
   Amgen acted “with assistance from Amerisource, Lash, and Ashfield” see, e.g., id. at ¶ 108); Theory
   Three, id. at ¶¶ 146-73 (generally stating that Bayer and Amgen provided services “with the assistance of
   Lash,” see, e.g., id. at ¶ 146).
   13
      Even if the Amended Complaint could be construed as alleging a conspiracy between Amerisource and
   its subsidiary Lash, the claim would be barred for the additional reason that a corporation cannot conspire

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   IV.     The State Law Counts (Counts 4-34) Should Be Dismissed For the Same Reasons as
           the FCA Claims and For Failure to Satisfy Rule 9(b)

           State law analogues to the FCA create liability for false claims, often with language

   identical or very similar to the FCA. See FAC ¶ 40 (“Each of the Plaintiff States has enacted

   statutes that are parallel to the legislative scheme embodied in the FCA and the AKS.”). Absent

   allegations about how a state law differs from the FCA – which Relators have not pled here –

   courts interpret state false claims laws consistently with the FCA. See, e.g. U.S. ex rel. Colquitt

   v. Abbott Labs., 864 F. Supp. 2d 499, 537-38 (N.D. Tex. 2012), aff'd 858 F.3d 365 (5th Cir.

   2017) (dismissing both FCA and state law claims with prejudice concurrently when requirements

   of FCA were not met and no difference in state law was shown). Just as they have failed to

   adequately allege a violation of the federal FCA, Relators have not adequately pled a violation of

   any of the state statutes, and their state law claims should be dismissed on that basis.

           Like federal FCA claims, state law FCA claims are also subject to Rule 9(b). See

   Williams v. WMX Technologies, Inc., 112 F.3d 175, 177 (5th Cir. 1997).                       To meet this

   heightened pleading standard, Relators must include state-specific allegations for each state law

   claim. See U.S. ex rel. Wall v. Vista Hospice Care, Inc., 778 F. Supp. 2d 709, 723 (N.D. Tex.

   2011) (dismissing certain state law claims under Rule 9(b) where relator “provide[d] no details

   of the alleged fraud” specific to those states).            Here, Relators have pled no substantive

   allegations beyond those alleged in support of their federal claims, and therefore the state claims

   should be dismissed even if the federal claims are not. See id.14



   with its own subsidiary. Reagan, 274 F. Supp. 2d at 856 (citing Deauville Corp. v. Federated Dept.
   Stores, Inc., 756 F.2d 1183, 1192 (5th Cir. 1985)) (“[I]t is a matter of law that a parent corporation cannot
   conspire with its own subsidiary.”).
   14
      Alternatively, should the Court dismiss Relators’ federal FCA claims for any reason, it should decline
   to exercise supplemental jurisdiction over Relators’ state law claims. See United States ex rel. Foster v.
   Bristol-Myers Squibb Co., 587 F. Supp. 2d 805, 828 (E.D. Tex. 2008) (noting that “the ‘general rule’ in

                                                        34
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   V.      A Substantial Portion of Relators’ Pled Claims Are Time Barred.

           The Relators’ qui tam action is subject to the FCA’s six-year statute of limitations. 31

   U.S.C. § 3731(b)(1); U.S. ex rel. Foster v. Bristol-Myers Squibb Co., 587 F. Supp. 2d 805, 816

   (E.D. Tex. 2008); see also U.S. ex rel. Jackson v. Univ. of N. Tex., 673 F. App’x 384, 387 (5th

   Cir. 2016) (unpublished per curiam) (“In this circuit . . . qui tam FCA actions are governed by

   the limitations period found in § 3731(b)(1).”). The limitations period begins on the “the date on

   which the violation . . . is committed”—that is, the date on which “the defendant submitted a

   false claim for payment.” Graham Cnty Soil & Water Conservation Dist. v. U.S. ex rel. Wilson,

   545 U.S. 409, 415-16 (2003). Because Relators filed this action on June 19, 2017, Dkt. 1, they

   are barred from claiming any FCA violation based on claims submitted before June 19, 2011. To

   the extent Relators seek recovery for claims submitted before that date, all such claims under

   Counts 1, 2, and 3 should be dismissed.

           Relators’ claims under various state laws—in Counts 4-34—similarly are subject to

   limitations periods and partially time-barred.15

   VI.     The FAC Improperly Added Relator Green.

           Relators have violated the FCA’s procedural rules by adding a new relator—Green—to

   the Fifth Circuit is to decline to exercise jurisdiction over pendent state law claims when all federal claims
   are eliminated from a case before trial”).
   15
      Eighteen of those are asserted under state laws containing substantially identical statutes of limitations,
   and also should be restricted to claims submitted on or after June 19, 2011. See, e.g., (Count 5) Cal. Gov't
   Code § 12654(a); (Count 8) Del. Code Ann. tit. 6, § 1209(a); (Count 9) D.C. Code Ann. § 2-381.05(a);
   (Count 10) Fla. Stat. Ann. § 68.089(1); (Count 11) Ga. Code Ann. § 49-4-168.5; (Count 13) 740 Ill.
   Comp. Stat. Ann. 175/5; (Count 14) Ind. Code Ann. § 5-11-5.5-9(b); (Count 15) Iowa Code Ann. §
   685.4(2); (Count 19) Mich. Comp. Laws Ann. § 400.614; (Count 20) Minn. Stat. Ann. § 15C.11(a);
   (Count 22) Nev. Rev. Stat. Ann. § 357.170(1); (Count 23) N.H. Rev. Stat. Ann. § 167:61-b(VII); (Count
   24) N.J. Stat. Ann. § 2A:32C-11; (Count 27) N.C. Gen. Stat. Ann. § 1-615; (Count 28) Okla. Stat. Ann.
   tit. 63, § 5053.6(B); (Count 29) 9 R.I. Gen. Laws Ann. § 9-1.1-5(b); (Count 30) Tenn. Code Ann. § 71-5-
   184(b); (Count 31) Tex. Hum. Rem. Code § 36.104(b); (Count 32) Vt. Stat. Ann. tit. 32, § 639(a); see
   United States ex rel. King v. Solvay S.A., 823 F. Supp. 2d 472, 538 (S.D. Tex. 2011), order vacated in
   part on reconsideration of other grounds, No. CIV.A. H-06-2662, 2012 WL 1067228 (S.D. Tex. Mar. 28,
   2012) (applying six-year limitations period to state-law claims with statutes “substantially similar to the
   federal FCA limitations clause”). Several state-law equivalents have even shorter limitations periods.
   See Ark. Code Ann. § 20-77-908 (Count 4) (five-year SOL); N.M. Stat. Ann. § 27-14-13(a) (Count 25).

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   this suit through the FAC. Regardless of how Relators frame this late addition, it runs headfirst

   into an insurmountable roadblock requiring Green’s dismissal from this action: the FCA’s first-

   to-file rule, which bars a litigant from joining an earlier-filed action and asserting claims based

   on the same facts. See U.S. ex rel. Branch Consultants v. Allstate Ins. Co., 560 F.3d 371, 378

   (5th Cir. 2009) (holding that “a relator cannot avoid § 3730(b)(5)’s first-to-file bar by simply

   adding factual details . . . to the essential or material elements of a fraud claim against the same

   defendant described in a prior compliant.”).

          Green’s addition violates the first-to-file rule. In the FAC, Green purports to join in all

   the allegations that Health Choice previously made in the original complaint. The FAC defines

   Health Choice and Green collectively as the “Relators,” FAC at 1, and proceeds to make every

   allegation and substantive claim on behalf of both. Moreover, comparing the two Relators’

   allegations in the FAC against Health Choice’s allegations in the original complaint shows that

   the FAC contains virtually verbatim recitations of the alleged “schemes” from the original

   complaint. Compare FAC ¶¶ 92-173, with Original Complaint ¶¶ 76-152. Of the 82 paragraphs

   containing these allegations in the FAC, 78 were already made in the original complaint.16

   Green therefore adopts Health Choice’s earlier allegations as her own, and together, both

   Relators reiterate them in the FAC.

          Section 3730(b)(5) makes clear that “no person other than the Government may intervene

   or bring a related action based on the facts underlying the pending action.” This first-to-file rule

   is a jurisdictional bar to claims that allege “the same material or essential elements of fraud

   described in a pending qui tam action[.]” Allstate, 560 F.3d at 378. Federal courts hold that this

   16
     Relators made only inconsequential changes to a handful of the other 78, pre-existing paragraphs. See,
   e.g., FAC ¶ 93 (adding single sentence of Green’s salary with Ashfield); id. at ¶¶ 108, 110 (adding
   nonparty “Ashfield”); id. at ¶ 116 (changing “Relator” to “HCG”); id. at ¶ 167 (changing “the Covered
   Products” to “Betaseron or Nexavar”).

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   rule is “exception-free” and prevents a relator from “consolidating his claim with an earlier

   action.” See U.S. ex rel. Denenea v. Allstate Ins. Co., No. CIV.A. 07-2795, 2011 WL 231780, at

   *1 (E.D. La. Jan. 24, 2011); U.S.. ex rel. Lujan v. Hughes Aircraft Co., 243 F.3d 1181, 1187 (9th

   Cir. 2001) (stating “§ 3730(b)(5)’s plain language does not contain exceptions[, which] . . .

   conforms with the dual purposes of the 1986 [FCA] amendments: to promote incentives for

   whistle-blowing insiders and prevent opportunistic successive plaintiffs.”).

          Green attempts here what the FCA expressly prohibits: intervening in an earlier-filed

   action and asserting claims based on the same allegations that already were pled. Her claims

   would have been barred if she had sought to bring a new, separate lawsuit based on her

   allegations. She therefore should be dismissed from this action.

                                           CONCLUSION

          For the forgoing reasons, Defendants request that the Court dismiss with prejudice

   Relators’ claims.




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                                   CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing document was filed electronically in

   compliance with Local Rule CV-5(a). Therefore, this document was served on all counsel who

   are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed.

   R. Civ. P. 5(d) and Local Rule CV-5(d) and (e), all other counsel of record not deemed to have

   consented to electronic service were served with a true and correct copy of the foregoing by

   email on this the 21st day of February, 2018.



                                                   /s/ T. John Ward, Jr.




                                                   40
